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                     IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF PUERTO RICO

 United States of America
 Plaintiff                                    Criminal No. 21-393 (PAD)

 Vs.

 Hipolito Larregui-Santiago [1]
 Defendant

          MOTION IN COMPLIANCE WITH THE ORDER AT ECF. NO. 68

The Honorable Court:

       NOW COMES Defendant, Hipolito Larregui-Santiago, by way of the undersigned

attorney who respectfully states and prays as follows:

   1. On January 20, 2023 the court ordered us to provide our assessments of the pro se

       motions filed by defendant on docket numbers 63, 64 and 67.

   2. We coordinated an in person visit with defendant for February 1 but he was

       transferred on January 31st to another institution, on February 6 we were able to

       discuss the content of the motions with defendants via video teleconference.

   3. Defendant has many medical conditions which he feels have not been treated

       appropriately while detained.     He was transferred from MDC Guaynabo to

       Guayama as that other institution has a hospital; he was recently transferred to

       Salinas. Undersigned is currently confirming the reason behind his latest transfer.

   4. Last week during our video teleconference once again we explained the charges

       filed against the defendant, the application of the sentencing guidelines and the
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      elements of each offence. We further explained the plea agreement which has been

      tendered and the benefits of said plea.

   5. After our latest conference, undersigned is under the impression that defendant

      wishes to exercise his right to a jury trial.

   6. Defendant expressed that he is satisfied with the legal representation that he has

      received.

   7. Undersigned his coordinating for an in person visit with defendant this week to

      further discuss the content of his pro se motions and how he wishes to proceed in

      the caption case, we will provide the information to the Court during our next

      status conference.

   8. We request the Court takes notice of the above and allows us to remain as the legal

      representation of defendant.

   WHEREFORE, it is respectfully requested that this Honorable Court to take notice of

the above and deems the Order at ECF. No. 68 complied with.

                               CERTIFICATE OF SERVICE
I HEREBY CERTIFY that on this same date and by electronic CM/EC filing system, copy
of this Notice has been sent to the U.S. Attorney’s Office and all others registered to
receive notification by electronic mail.

RESPECTFULLY SUBMITTED.
     In San Juan, Puerto Rico on this 12th day of February 2023.



                                           /S/ Miguel Oppenheimer
                                           Miguel Oppenheimer
                                           USDC Bar No. 220012
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